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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

                                                                        )
In re:                                                                  )
                                                                        )   Chapter 11
                                                           1
HIGHLAND CAPITAL MANAGEMENT, L.P.,                                      )
                                                                        )   Case No. 19-34054 (SGJ)
                              Debtor.                                   )
                                                                        )
                                                                        )
HIGHLAND CAPITAL MANAGEMENT, L.P.                                       )
                                                                        )
                              Plaintiff,                                )
vs.                                                                     )   Adv. Pro. No. 21-03005 (SGJ)
                                                                        )
NEXPOINT ADVISORS, L.P.,                                                )
                                                                        )
                              Defendant.                                )
                                                                        )

                                      CERTIFICATE OF SERVICE

      I, Vincent Trang, depose and say that I am employed by Kurtzman Carson Consultants
LLC (“KCC”), the claims and noticing agent for the Debtor in the above-captioned case.

        On August 23, 2021, at my direction and under my supervision, employees of KCC
caused the following documents to be served via Electronic Mail upon the service list attached
hereto as Exhibit A; and via First Class Mail upon the service list attached hereto as Exhibit B:

      •   Order Granting Debtor’s Unopposed Motion for Leave to Serve and File Amended
          Complaint [Docket No. 57]

      •   Agreed Protective Order [Docket No. 58]

Dated: August 26, 2021
                                                          /s/ Vincent Trang
                                                          Vincent Trang
                                                          KCC
                                                          222 N Pacific Coast Highway, Suite 300
                                                          El Segundo, CA 90245


1
  The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service
address for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.
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                             EXHIBIT A
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                                                                    Exhibit A
                                                              Adversary Service List
                                                             Served via Electronic Mail


               Description                      CreditorName                 CreditorNoticeName                       Email

  Financial Advisor to Official Committee                          Earnestiena Cheng, Daniel H         Earnestiena.Cheng@fticonsulting.com;
  of Unsecured Creditors                  FTI Consulting           O'Brien                             Daniel.H.O'Brien@fticonsulting.com
                                                                   Melissa S. Hayward, Zachery         MHayward@HaywardFirm.com;
  Counsel for the Debtor                 Hayward & Associates PLLC Z. Annable                          ZAnnable@HaywardFirm.com
  Counsel for UBS Securities LLC and                               Andrew Clubok, Sarah                andrew.clubok@lw.com;
  UBS AG London Branch                   Latham & Watkins LLP      Tomkowiak                           sarah.tomkowiak@lw.com
  Counsel for UBS Securities LLC and                               Asif Attarwala, Kathryn K.          asif.attarwala@lw.com;
  UBS AG London Branch                   Latham & Watkins LLP      George                              Kathryn.George@lw.com
  Counsel for UBS Securities LLC and                               Jeffrey E. Bjork, Kimberly A.       jeff.bjork@lw.com;
  UBS AG London Branch                   Latham & Watkins LLP      Posin                               kim.posin@lw.com
  Counsel for UBS Securities LLC and                                                                   Zachary.Proulx@lw.com;
  UBS AG London Branch                   Latham & Watkins LLP            Zachary F. Proulx, Jamie Wine Jamie.Wine@lw.com
  Counsel for Highland Capital
  Management Fund Advisors, L.P.,
  NexPoint Advisors, L.P., Highland
  Income Fund, NexPoint Strategic
  Opportunities Fund and NexPoint        Munsch Hardt Kopf & Harr,       Davor Rukavina, Esq., Julian drukavina@munsch.com;
  Capital Inc.                           P.C.                            P. Vasek, Esq.               jvasek@munsch.com
                                                                                                      mclemente@sidley.com;
                                                                         Matthew Clemente, Alyssa     alyssa.russell@sidley.com;
  Counsel for Official Committee of                                      Russell, Elliot A. Bromagen, ebromagen@sidley.com;
  Unsecured Creditors                    Sidley Austin LLP               Dennis M. Twomey             dtwomey@sidley.com
                                                                                                      preid@sidley.com;
                                                                         Penny P. Reid, Paige Holden pmontgomery@sidley.com;
  Counsel for Official Committee of                                      Montgomery, Juliana Hoffman, jhoffman@sidley.com;
  Unsecured Creditors                    Sidley Austin LLP               Chandler M. Rognes           crognes@sidley.com




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                             EXHIBIT B
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                                                                                     Exhibit B
                                                                               Adversary Service List
                                                                             Served via First Class Mail


               Description                    CreditorName               CreditorNoticeName                   Address1                 Address2             City      State    Zip
  Counsel for UBS Securities LLC and                                Andrew Clubok, Sarah            555 Eleventh Street, NW,
  UBS AG London Branch                  Latham & Watkins LLP        Tomkowiak                       Suite 1000                                          Washington    DC      20004
  Counsel for UBS Securities LLC and                                Asif Attarwala, Kathryn K.      330 North Wabash Avenue,
  UBS AG London Branch                  Latham & Watkins LLP        George                          Ste. 2800                                           Chicago       IL      60611
  Counsel for UBS Securities LLC and                                Jeffrey E. Bjork, Kimberly A.
  UBS AG London Branch                  Latham & Watkins LLP        Posin                           355 S. Grand Ave., Ste. 100                         Los Angeles   CA      90071
  Counsel for UBS Securities LLC and
  UBS AG London Branch                  Latham & Watkins LLP        Zachary F. Proulx, Jamie Wine 1271 Avenue of the Americas                           New York      NY      10020
  Counsel for Highland Capital
  Management Fund Advisors, L.P.,
  NexPoint Advisors, L.P., Highland
  Income Fund, NexPoint Strategic
  Opportunities Fund and NexPoint       Munsch Hardt Kopf & Harr,   Davor Rukavina, Esq., Julian P.
  Capital Inc.                          P.C.                        Vasek, Esq.                     3800 Ross Tower               500 N. Akard Street   Dallas        TX      75202




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